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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF WASHINGTON

PLAINTIFF: Case No.: 59.¢y.99747 JCC
MYRIAM ZAYAS

VS.
REPLY TO DISMISSAL

ANNETTE MissITT,
ANN DANIELL
DAVID LARAus,

AMBER WHITNEY,

DEFENDANTS,

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If judge Coughenour did care about my constitutional rights he would have
told me the first time | amended the complaint, that | only had one time to amend the
complaint. Bui what does he do? He allows me to amend the complaint 55,000 times
over a massively long period of 1 years. He says nothing, and is able to go to sleep
every night knowing, that I'm doing everything wrong. That I'm going to lose anyway,
Judge Coughenour does not care that | have an open case in District Court that's
draining money from the public since | don't have any money. Draining money from
his bosses account since he's not supposed to do that anyway. It is in a judges job
description to get rid of cases quickly and efficiently, so that they don't waste money.
_ So even though he knew from day one that he was going to dismiss because |
amended the complaint so many times, and because | marked that she was in her
official capacity in one of the very first complaints. which was my biggest mistake.

Did Judge Coughenour bother to send me a letter and say hey “Here's a few of
the rules since | know you're not a lawyer and even though | say | will read your
complaint as if you are not a lawyer. I will still treat you like one at the end and
dismiss everyining because of mistakes that you made that are obviously because
you're not a lawyer........ ” Did he read my complaint as if | were not an attorney? No
this is where he's not treating me like | am a pro se litigant and he is not protecting
my civil rights, because he sees my rights were violated clear as day, he sees the
felony forgery clear as day but he still is able to dismiss this based on mistakes that |
made since I'm not a lawyer and | don't know what the hell I'm doing. He's allowed to
violate my rights based on me not being a lawyer. Me being poor basically is why | will
never get justice for my daughter.

Don't forget when you sue a judge do it in their individual capacity not their

official capacity like | did, and you will not have this problem. I'm glad to be of service

to the public for this and will not make the same mistake next time when | sue the next
judge. Who is this judge confiding in, the attorney general who has a criminal record
with an assauit charge, No wonder they don't care about my civil rights for my 5 year

old daughters.

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My name is Myriam Zayas | am above the age of 18 and am competent to testify to the
facts of this case / do certify and declare under penalty of perjury that the facts stated herein
are true and correct to the best of my knowledge. This court is gaverned by the laws of the

state of Washington.

Today's date is 21 of August 2021. This was signed in Kent Washinaton, US.

Plaintiff aene/Mysetinn Gage

| will not waste my time with an appeal because | have a bad feeling that there may be a
judge even higher that doesn't give a **** about my civil rights similar to all the judges
below him/her. Because | know they see what | see, the intentional racial discrimination
that is happening in child welfare practiced by the social workers and approved by their
boss in order to force the adoption of white children only across all 50 states in the
United States not just Washington. They are likely in the population of people who cannot
have children and would love nothing more than to adopt a child that was never abused,
whiie at the same time force that child into the opposite religion of his/her parents.

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Criminal Records

DISCLAIMER: The criminal record information contained in our reports may not be 100% accurate or complete. This is because the information is pulled from
records maintained by government agencies and the information contained in those records may not be 100% accurate or complete. Please use this information
as a starting point for your own due diligence and investigation.

Likely Criminal Records
Brendan Michael Lenihan

Match Rating Based On:
First Name, Middle Name, Last Name, Date Of Birth, Age

Ohense Date COuree
Oct 31, 2009 PIMA COUNTY - JUSTICE

COURTS (Arizona)

Personal Details

Middle Narmne Las! Name AgS Date of Sicth
Michael Lenihan 37 Nov 24, 1983

Grs License Number

AZ-D05470955

Oct 31, 2009 - Offense -

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Assault-knowingly Caus- 02 CRO9-921577A-LENBRE1 9844 Riitha Justice Court Dism
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osition Date

Dec 22, 2009

Oct 31, 2009 - Offense -

HeSe Date Crit. ocation Crime Classification Ofiense Code Offense Deseription

Oct 31, 2009 Arizona PimajPima, AZ Misdemeanor 13-1602A1 Crim Damage - Defacing
Or Damaging

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Ms. ORES

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KENT WA 98030-8930

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DISTRICT CLERK
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